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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )   Chapter 11
    In re:                                                   )
                                                             )   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al.,1                               )
                                                             )   (Lead Case)
                                       Debtors.              )
                                                             )   (Jointly Administered)
                                                             )

                 CERTIFICATE OF NO OBJECTION REGARDING
      EMERGENT DEBTOR’S MOTION FOR ENTRY OF AN ORDER EXTENDING
     THE EXCLUSIVE PERIODS DURING WHICH ONLY THE EMERGENT DEBTOR
       MAY FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

             Jody C. Barillare as counsel to Emergent Fidelity Technologies Ltd, as debtor and debtor-

in-possession (the “Emergent Debtor”), hereby certifies as follows:2

             1.     On May 23, 2023, the Emergent Debtor moved for entry of an order extending (a)

the exclusive period to file a chapter 11 plan (the “Exclusive Filing Period”) from June 3, 2023 for

180 days through and including November 30, 2023, and (b) the exclusive period to solicit

acceptances of a chapter 11 plan (the “Exclusive Solicitation Period” and, together with the

Exclusive Filing Period, the “Exclusive Periods”) from August 2, 2023 for 180 days through and

including January 29, 2024 (the “Motion”) [D.I. 1524].

             2.     The Emergent Debtor attached a notice form to the Motion, setting forth June 1,

2023 as the deadline for filing a response to the Motion (the “Objection Deadline”) and June 8,

2023 as the hearing date (the “Notice Form”) [D.I. 1524].


1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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        3.      The Emergent Debtor served the Notice Form, the Motion and the exhibit(s) thereto

as reflected in the certificate of service filed at D.I. 1528.

        4.      As of the filing of this certificate, more than forty-eight (48) hours have elapsed

since the Objection Deadline, and to the best of the knowledge of the undersigned counsel, no

responsive pleading or objection has been filed with the Court on the docket of the above-captioned

chapter 11 cases or the chapter 11 case of the Emergent Debtor, or served upon the Emergent

Debtor or its counsel.

        5.      Accordingly, the Emergent Debtor respectfully requests entry of the Proposed

Order attached to the Motion and attached hereto as Exhibit A.

                                      [Signature page to follow]




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Dated: June 4, 2023                        MORGAN, LEWIS & BOCKIUS LLP
Wilmington, DE
                                           /s/ Jody C. Barillare
                                           Jody C. Barillare (Bar No. 5107)
                                           1201 N. Market Street, Suite 2201
                                           Wilmington, DE 19801
                                           Telephone: (302) 574-3000
                                           Email: jody.barillare@morganlewis.com

                                                     - and -

                                            John C. Goodchild, III (admitted pro hac vice)
                                            Matthew C. Ziegler (admitted pro hac vice)
                                            1701 Market Street
                                            Philadelphia, PA 19103
                                            Telephone: (215) 963-5000
                                            Email: john.goodchild@morganlewis.com
                                            Email: matthew.ziegler@morganlewis.com

                                                     - and -

                                            Craig A. Wolfe (admitted pro hac vice)
                                            Joshua Dorchak (admitted pro hac vice)
                                            David K. Shim (admitted pro hac vice)
                                            101 Park Avenue
                                            New York, NY 10178
                                            Telephone: (212) 309-6000
                                            Email: craig.wolfe@morganlewis.com
                                            Email: joshua.dorchak@morganlewis.com
                                            Email: david.shim@morganlewis.com

                                           Counsel for Emergent Fidelity
                                           Technologies Ltd as Debtor and Debtor-in-
                                           Possession




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